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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


SPECTRUM NORTHEAST, LLC, et al.,

                                Plaintiffs,

         v.                                               Case No. 1:20-cv-00168-JDL
AARON FREY, in his official capacity as Attorney
General for the State of Maine,

                               Defendant.


                                         FINAL JUDGMENT

         This matter is before the Court on the parties’ Joint Motion to Grant Summary Judgment

to Plaintiffs and Enter Final Judgment (“Joint Motion”), ECF No. 33. For the reasons stated in the

Joint Motion, as well as the Court’s order denying Defendant’s Motion to Dismiss, ECF No. 28,

the Court hereby declares that Public Law 2020, ch. 657, “An Act To Require a Cable System

Provider To Provide a Pro Rata Credit When Service Is Cancelled by a Subscriber,” is preempted

by the Cable Communications Policy Act of 1984, 47 U.S.C. §§ 521-573. Accordingly, the

parties’ Joint Motion (ECF No. 33) is GRANTED, and it is ORDERED that judgment be entered

in favor of Plaintiffs in this matter.

         Defendant has preserved his right to appeal this judgment and associated orders, and this

judgment is intended to be appealable. Defendant agrees that he will not seek to enforce, directly

or indirectly, the Pro Rata Law absent vacatur or reversal of this Court’s judgment.

         SO ORDERED.

         Dated: November 2, 2020

                                                              /s/ Jon D. Levy
                                                          CHIEF U.S. DISTRICT JUDGE



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